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                                 UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT


          Fourth Circuit No, 07-4059                 District Court No, RWT-04-0234

          Style of Case: US v Learley Goodwin, et aI.

                        REQUEST FOR EXTENSION OF TIME AND WAIVER OF
                            APPLICABLE FEE REDUCTION SANCTION

                I request an extension of time and waiver of applicable fee reduction
                sanctions until 11/17/08 for the filing of the transcript which is
                due on 12/01/08 , As of this date, approximately 600 pages have
                been completed and 340 pages are yet to be transcribed,

                                    JUSTIFICA TION IS AS FOLLOWS:

          A,    Outstanding District Court transcripts ordered within 90 days of this
                request. Any pending appellate transcripts will be taken into
                consideration in deciding this request.
                08-5078 US v Perez; 08-4486 US v Rendelman
                08- 1262 Fuerth v Winarsky; 08-2058 Collis v Bank of America

          B,     In-Court Time: (give total dayslhours by month)
                 Oct 20 daysl approx 80 hours; Nov 7 days/35 approx hours
          C,     Travel: (give hours spent traveling to and from Court by month)
                 Oct 40 hours (approx I hour each way); Nov 14 hours (approx I hour each way)
          D,     Other: (please provide any other information you would like the Court to consider
          when reviewing your request. Please be aware that this information will be posted on the
          public docket.)
                The scopist who was working on this job has taken ill (bulging discs in her neck) and has told
                me she cannot finish the proceedings in this matter. I was also on vacation from Nov 6 - 12;
                as well, I was sick with a stomach virus from 11/14-16 and unable to accomplish anything
                more than is stated above, Thank you for your consideration,




                     Date: 8/28/2008                         Name: lsi Tracy R. Dunlap' - - - - - - - ­
